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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X   Case No.
JOSEPH HECHAVARRIA,

                                             Plaintiff,
                                                                             COMPLAINT
                            - against -
                                                                             PLAINTIFF DEMANDS
SCORCH BAR & GRILL INC., and JAMAAI YOUNG,                                   A TRIAL BY JURY
Individually,

                                              Defendants.
-------------------------------------------------------------------------X

        Plaintiff Joseph Hechavarria, by and through his attorneys, Nisar Law Group, P.C.,

hereby complains of Defendants, upon information and belief, as follows:

                                          NATURE OF THE CASE

1.      Plaintiff complains pursuant to 42 U.S.C. § 1981 (“Section 1981”) and the New York

        City Human Rights Law, New York City Administrative Code § 8-107, et seq.

        (“NYCHRL”), and seeks damages to redress the injuries he has suffered as a result of

        being Harassed and Discriminated against on the basis of his race (Black) as well as

        suffering unlawful Retaliation.

                                     JURISDICTION AND VENUE

2.      Jurisdiction of this Court is proper under 28 U.S.C. §§ 1331 and 1343.

3.      This Court has supplemental jurisdiction over Plaintiff’s claim brought under city law

        pursuant to 28 U.S.C. § 1367.

4.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) as it is a judicial district

        in which a substantial part of the events or omissions giving rise to the claims occurred.

                                                   PARTIES

5.      At all times relevant, Plaintiff JOSEPH HECHAVARRIA (“Plaintiff”) was and is a
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      resident of the State of New York and Kings County.

6.    Plaintiff’s race is Black.

7.    At all times relevant, Defendant SCORCH BAR & GRILL INC. (“Scorch”) was and is a

      domestic business corporation, duly organized and existing under, and by virtue of, the

      laws of the State of New York, with its principal place of business located at 3148 Fulton

      Street, Brooklyn, NY 11208.

8.    At all times relevant, Defendant JAMAAI YOUNG (“Young”) was and is a person who

      held the positions of owner and manager of Defendant Scorch and who, at all times

      relevant, exercised supervisory authority over Plaintiff and had the power to hire, fire,

      and/or directly affect the terms and conditions of his employment as well as direct his daily

      work activities.

9.    Defendants Scorch and Young shall be referred to herein together as “Defendants.”

                                     MATERIAL FACTS

10.   Defendant Scorch is a restaurant and bar located in the Cypress Hills neighborhood of

      Brooklyn, New York.

11.   Plaintiff began working at Defendant Scorch in July 2022 as a prep/ line cook. Most

      recently, Plaintiff was employed as the kitchen manager.

12.   During his employment at Scorch, Plaintiff was an overall good employee who generally

      received praise for his work performance. In fact, as a result of his efforts, new items

      which he created were added to the menu which generally received positive feedback

      from customers.

13.   However, on December 23, 2022, Plaintiff was the victim of an unfortunate episode

      which gives rise to this federal action.

14.   Specifically, on December 23, 2022, Plaintiff needed to clean the deep fryer. Because


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      Plaintiff was not only tasked with cleaning the deep fryer, but with basically all other

      tasks and responsibilities in the kitchen including prepping food, washing dishes, etc., he

      did not have enough time to prep all the food for cooking.

15.   During this time while Plaintiff was cleaning, Defendant Young, who was present at

      Scorch, was taking food orders. Plaintiff notified Defendant Young that in light of hm

      cleaning the fryer, he wasn’t able to do his prep work for the food, however, Defendant

      Young continued to take food orders.

16.   As a result, the food orders became backed up so much to the extent that any new orders

      would take at least 45-60 minutes to complete. Because of this delay (and the night being

      very busy in general), customers were complaining about how long it was taking to get

      their food.

17.   During this time, Plaintiff was in communication with Defendant Young as to this issue.

      Plaintiff also observed Defendant Young becoming increasingly inebriated as he was

      working the bar that evening and consuming many alcoholic beverages. Nevertheless,

      sometime between 10:00 and 11:00 PM that evening, Defendant Young came in the

      kitchen and began yelling at Plaintiff about how long it was taking the food to come out.

      This escalated into Defendant Young chest-bumping Plaintiff and telling Plaintiff to fight

      him. Given Defendant Young’s level of intoxication and the bizarre (as well as wholly

      unprofessional) way Defendant Young approached this issue, Plaintiff declined to engage

      him (much less fight him).

18.   Nevertheless, Defendant Young’s brother, who was also present at Scorch that evening,

      intervened and witnessed that the situation had become unstable. Accordingly, he advised

      Plaintiff to leave for the evening and come back the next day. As such, Plaintiff went

      downstairs to collect his personal belongings and Defendant Young followed him down


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      there.

19.   However, Defendant Young’s aggressive behavior did not stop. While in the basement,

      Defendant Young referred to Plaintiff as a n***er, a “hood booger,” as well as a “slave

      who has no human rights.” Plaintiff was naturally very offended by the names Defendant

      Young called him.

20.   In fact, Plaintiff protested and opposed this name calling and was so shocked that

      Defendant Young called him a “slave with no human rights,” he pulled out his iPhone

      and began recording, at which point Defendant Young continued to engage him and said

      to Plaintiff, “Fuck your human rights; you’re an incompetent b*tch-ass, slow n***er.”

      Plaintiff left Scorch as instructed.

21.   The following day, Defendant Young fired Plaintiff under the purported reason of

      “budget cuts” (which was told to Plaintiff via text message).

22.   However, this reason was clearly pretextual as Defendants were making no such “budget

      cuts.” Further, the termination of employment came the day after Plaintiff protested and

      opposed Defendant Young engage in a racist rant directed at him in which Plaintiff

      filmed a portion, a fact known by Defendant Young.

23.   Plaintiff has been unlawfully discriminated against, retaliated against, humiliated, and

      degraded, and as a result, suffers loss of rights, emotional distress, loss of income and

      earnings.

24.   Defendants’ actions and conduct were intentional and intended to harm Plaintiff.

25.   As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

      continue to suffer the loss of income, the loss of a salary, bonuses, benefits and other

      compensation which such employment entails.

26.   Defendants’ conduct was malicious, willful, outrageous, and conducted with full


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      knowledge of the law.

27.   Plaintiff seeks damages for lost wages, emotional distress, punitive damages, liquidated

      damages and attorneys’ fees.

                          AS A FIRST CAUSE OF ACTION
                    FOR DISCRIMINATION UNDER 42 U.S.C. § 1981

28.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

29.   42 U.S.C. § 1981 states in relevant part as follows:

      (a) Statement of equal rights

      All persons within the jurisdiction of the United States shall have the same right in every
      State and Territory to make and enforce contracts, to sue, be parties, give evidence, and
      to the full and equal benefit of all laws and proceedings for the security of persons and
      property as is enjoyed by white citizens, and shall be subject to like punishment, pains,
      penalties, taxes, licenses, and exactions of every kind, and to no other.

      (b) “Make and enforce contracts” defined

      For purposes of this section, the term “make and enforce contracts” includes the making,
      performance, modification, and termination of contracts, and the enjoyment of all
      benefits, privileges, terms, and conditions of the contractual relationship.

30.   Defendants discriminated against Plaintiff on the basis of his race (black) as provided

      under 42 U.S.C. §1981 and has suffered damages.

                         AS A SECOND CAUSE OF ACTION
                      FOR RETALIATION UNDER 42 U.S.C. § 1981

31.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

32.   By the acts and practices described above, Defendants retaliated against Plaintiff for his

      opposition to unlawful discrimination under 42 U.S.C. § 1981.

33.   Defendants acted with malice and/or reckless indifference to Plaintiff’s statutorily

      protected rights.


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34.   Defendants discriminated against Plaintiff on the basis of his race (black) as provided

      under 42 U.S.C. §1981 and has suffered damages.


             AS A THIRD CAUSE OF ACTION FOR DISCRIMINATION
             UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

35.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

36.   The New York City Administrative Code § 8-107(1) provides that “It shall be an

      unlawful discriminatory practice: (a) For an employer or an employee or agent thereof,

      because of the … race … of any person, to refuse to hire or employ or to bar or to

      discharge from employment such person or to discriminate against such person in

      compensation or in terms, conditions or privileges of employment.”

37.   Defendants engaged in unlawful discriminatory practices in violation of the New York

      City Administrative Code § 8-107(1)(a) by discriminating against Plaintiff because of his

      race causing him to suffer damages.

              AS A FOURTH CAUSE OF ACTION FOR RETALIATION
             UNDER THE NEW YORK CITY ADMINISTRATIVE CODE

38.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

39.   The New York City Administrative Code § 8-107(7) provides that “[i]t shall be an

      unlawful discriminatory practice for any person engaged in any activity to which this

      chapter applies to retaliate or discriminate in any manner against any person because such

      person has … opposed any practice forbidden under this chapter.”

40.   Defendants engaged in unlawful discriminatory practices in violation of the New York

      City Administrative Code § 8-107(7) by retaliating against Plaintiff because he protested



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      or opposed discrimination on the basis of his race causing him to suffer damages.

                                       JURY DEMAND

41.   Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff respectfully requests a judgment against the Defendant:

A.    Declaring that Defendants engaged in unlawful employment practices prohibited by 42

      U.S.C. §1981 and the New York City Human Rights Law in that Defendants

      discriminated against Plaintiff due to his race (black), and retaliated against Plaintiff for

      opposing Defendants’ harassment;

B.    Awarding damages to Plaintiff resulting from Defendants’ unlawful discrimination and

      retaliation and to otherwise make him whole for any losses suffered as a result of such

      unlawful employment practices;

C.    Awarding Plaintiff compensatory damages for mental, emotional and physical injury,

      distress, pain and suffering and injury to his reputation in an amount to be proven;

D.    Awarding Plaintiff punitive damages;

E.    Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the

      action; and,

F.    Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

      proper to remedy the Defendant’s unlawful employment practices.

Dated: New York, New York
       March 7, 2023
                                                             NISAR LAW GROUP, P.C.



                                                     By:     _________________________
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